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6
     Attorneys for Plaintiff
7    United States of America

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10                                  IN THE UNITED STATES DISTRICT COURT

11                                      EASTERN DISTRICT OF CALIFORNIA

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14   UNITED STATES OF AMERICA,                              CASE NO. 1:16-CR-00187 DAD

15                                 Plaintiff,               STIPULATION TO EXTEND SUPPLEMENTAL
                                                            BRIEFING
16                          v.

17   ROBERT GONZALEZ,

18                                Defendant.

19

20          The United States, through McGregor W. Scott, United States Attorney and Kimberly A. Sanchez,

21   Assistant U.S. Attorney, and Virna Santos, attorney for Defendant have stipulated to an extension of time for

22   supplemental briefing from March 23, 2020 until March 26, 2020. Due to issues arising from the COVID-19

23   epidemic, the government needs additional time to prepare a filing. The government contacted defense

24   counsel, who has no objection to extending the time to submit any supplemental briefing to March 26, 2020.

25          The parties further request the Court to enter an Order finding that the "ends of justice" served by a

26   extension outweigh the interest of the public and the defendant in a speedy trial, and that the delay through

27   decision on Defendant’s motion to determine competency is excluded from the Act's time limits pursuant to

28   18 U.S.C. § 3161(h)(7)(A).

      Stipulation                                           1
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1          Dated: March 23, 2020                                  Respectfully submitted,

2                                                                 McGREGOR W. SCOTT
                                                                  United States Attorney
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                                                          By      /s/ Kimberly A. Sanchez
5                                                                 KIMBERLY A. SANCHEZ
                                                                  Assistant U.S. Attorney
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7          Dated: March 23, 2020                                  /s/ Virna Santos
                                                                  VIRNA SANTOS
8                                                                 Attorney for Defendant
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10         It is Ordered that the parties may file supplemental briefing on or before March 26, 2020.

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     IT IS SO ORDERED.
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       Dated:       March 24, 2020
13                                                     UNITED STATES DISTRICT JUDGE
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      Stipulation                                        2
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